Case 3:07-cv-01675-P@Bpcument 1-26 Filed 10/02/07 oe of 48 PagelD 178

Case 3:07-cv-01675-P@Pcument 1-26 Filed 10/02/07 @& of 48 PagelD 179

ee!

CAUSE NO. 06-12248

ZUUTSEP 11) AM IO: 0%
DANNY CRYER, Individually and as a § IN OS DISTRIC f OURT
Representative of the Estate of Benny Cryer,  § To! [ey -
Deceased, and-the Estate of Martha Cryer, § VL de 0.
Deceased: and SHARON RUCKEL 5 lid
Plaintiffs § ‘
§
and §
§
REPUBLIC LLOYDS § B-44" JUDICIAL DISTRICT
Intervenor §
§
Vv. §
§
ATMOS ENERGY CORPORATION §
Defendant §
v. §
§
SABER DEVELOPMENT CORPORATION = §
Third-Party Defendant § DALLAS COUNTY, TEXAS
SUBPOENA
THE STATE OF TEXAS
COUNTY OF TEXAS

TO: Any Sheriff or Constable of the State of Texas or Other Person Authorized to Serve
Subpoenas under Rule 176 of the Texas Rules of Civil Procedure.

In the name of the STATE OF TEXAS, you are hereby COMMANDED TO SUBPOENA AND
SUMMON:

Ryan Wagnon
15361 Segovia Dr., Apt. 1181
Dallas, TX 75248 .
(972) 386-8688

who is required to appear and give an oral deposition at the offices of Paul A. Grinke,

McCathern | Mooty LLP, 3710 Rawlins, Suite 1600, Dallas, TX 75219, on Wednesday,
September 12, 2007 at 10:00 a.m.

This subpoena is issued on August 17, 2007 in accordance with Rule 176 of the Texas Rules of
Civil Procedure, by Mark L. Hawkins, State Bar No. 00790843, attorney for Plaintiff. In accord
with Section 22.001 of the Civil Practice and Remedies Code, a fee of $10.00 is hereby attached
for the witness.

304863-1 08/14/2007
Case 3:07-cv-01675-F@Ppcument 1-26 Filed 10/02/07 @: of 48 PagelD 180

CONTEMPT. Failure by any person without adequate excuse to obey a subpoena served upon
that person may be deemed in contempt of the court from which the subpoena is issued or a

district court in the county in which the subpoena is served, and may be punished by fine or
confinement or both.

Respectfully submitted,

WAt2,

MARK L. HAWKINS

State Bar No. 00790843

J. BRUCE SCRAFFORD

State Bar No. 17931100
ARMBRUST & BROWN, L.L.P.
100 Congress Avenue, Suite 1300
Austin, Texas 78701

(512) 435-2300 — telephone

(512) 435-2360 — facsimile

ATTORNEYS FOR PLAINTIFFS

PROOF OF SERVICE

I STE) uw. Hae RE served Ryan Wagnon by eae a copy of the
above subpoena and tendering all lawful feesonthe jg day of

fo L&ine WS: Ramee

Witness my hand, this the U Th day of mel 56 2007. f

(Seal) Notary Public Signature

MY COMMISSION EXPIRES
October 31, 2010

a, LACEY MICHELLE RODRIGUEZ

304863-1 08/14/2007

Case 3:07-cv-01675-P@Ppcument 1-26 Filed 10/02/07 @ 4of48 PagelD 181

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing instrument was
delivered via facsimile to the following counsel of record on this the ay of August, 2007:

Karin B: Torgerson

Locke Liddell & Sapp, L.L-P.
2200 Ross Avenue, Suite 2200
Dallas, TX 75201

Darrell W. Calvin, Jr.

Touchstone, Bernays, Johnston, Beall,
Smith & Stollenwerck, L.L.P.

4700 Renaissance Tower

1201 Elm Street

Dallas, TX 75270

Paul A. Grinke
McCathern | Mooty LLP
3710 Rawlins, Suite 1600
Dallas, TX 75219

304863-1 08/14/2007

Case 3:07-cv-01675- - j
08/30/2007 09:40 TEL 2147408 cument 1-26 Filed 10/Q2/07, "@: of 48 PagelD HS 2/002

TCC! 8/29/2007 4:47 PM PAGE 2/002 ax Server

Tes, 214-741-1166
TOUCHSTONE Fax 214-741-7548
touchstonelaw.
BERNAYS wort om
ATTORNEYS AT LAW

4700 RENAISSANCE ,
1201 ELM Teer alti, TEXAS 75270-2196 Darrell W. Calvin
_ Attorney
DIRECT DIAL. 214-672-8216
Direct FAX 214-259-8716
darreli.calvin@tbjbs.com

August 29, 2007
Ms. Karin B. Torgerson VIA FACSIMILE 214-740-8800
Locke Liddell & Sapp, LLP :
2200 Ross Avenue, Suite 2200
Dallas, Texas 75201

RE: Danny Cryer v. Atmos Energy v. Saber Development Corporation
Cause No. 06-12248-B; 44" District Court, Dallas County, Texas
Our File No: 1039/66614

Dear Karin:

This letter will memorialize our agreement that Third Party Plaintiff Atmos is apreeing to
extend Saber Development Corporation’s deadline to respond to Atmos’ Third Request for
Production and First Request for Inspection until Friday, September 14, 2007. If this accurately
reflects our agreement, please sign below in the space provided and let this letter serve as a Rule [1
agreement for filing with the Court Please also jet this letter serve a5 a memorialization of our
agreement that I have agreed to extend the same courtesy to Third-Party Plaintiff Atmos for Saber

Development Corporation’s Second Request for Production to Atmos.

Should you have any questions, please do not hesitate to cal] me directly.

CV

Darrell W. Calvin, Jr.

DWC/cab/1a279741

TOUCHSTONE, BERNAYS, JOHNSTON, BEALL, SMITH & STOLLENWERCK, LLP.

. www.touchstonelaw.com
PAGE 2/2* RCVD AT 8/30/2007 9:39:23 AM [Central Daylight Time] * SVR: FAXSERVE/1 * DNIS:8716 * CSID:2147408800 * DURATION (mm-ss):00-54
Case 3:07-cv-01675-R@@pcument 1-26 Filed 10/02/07

TOUCHSTONE
BERNAYS

ATTORNEYS AT LAW

EX

c hv

oA a \3

4700 RENAISSANCE TOWER
1201 ELM STREET, DALLAS, TEXAS 75270-2196

September 12, 2007

Court Clerk

44" District Court

600 Commerce St., Box 540
Dallas, Texas 75202

RE: Cause No. 06-12248-B

gs 7 of 48 PagelD 184

TEL 214-741-1166

FAX 214-741-7548
www.touchstonelaw.com
lawfirm@tbjbs.com

Darrell W. Calvin
Attorney

DIRECT DIAL 214-672-8216
DIRECT FAX 214-259-8716
darrell.calvin@tbjbs.com

Danny Cryer, et al v. Atmos Energy Corporation v. Saber Development Corp.

Our File No. 1039/66614

Dear Clerk:

Enclosed please find the original and one copy a Rule 11 regarding Third-Party Plaintiff
agreeing to extend Defendant Saber Development’s deadline for responding to Request for
Production and First Request for Inspection in the above-referenced matter. Please file the original

and return a file-marked copy to the undersigned.

Thank you for your assistance.

DWC /cab/1029131.1
Enclosure

TOUCHSTONE, BERNAYS, JOHNSTON, BEALL, SMITH & STOLLENWERCK, L.L.P.

www.touchstonelaw.com
‘Case 3:07-cv-01675-F@pcument 1-26 Filed 10/02/07 ¢ 8 of 48 PagelD 185

September 12, 2007
Page 2

cc:

Ms. Karin B. Torgerson
Locke, Liddell & Sapp, L.L.P.
2200 Ross Avenue, Suite 2200
Dallas, Texas 75201

Mr. Mark L. Hawkins
Armbrust & Brown, L.L.P.

100 Congress Ave., Suite 1300.
Austin, Texas 78701

Mr. Paul Grinke
McCathern Mooty, L.L.P.
3710 Rawlins, Suite 1600
Dallas, Texas 75219
Case 3:07-cv-01675-R@@pcument 1-26 Filed 10/02/07 @ 9 of 48

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eHAgS7 92

Case 3:07-cv-01675-P@Mcument 1-26 Filed 10/02/07 PQ» of 48,A\R
: ugust 7, 2007

Kirby Shaddix "

CAUSE NO. 06-12248
2 .DANNY CRYER, Individually and IN THE DISTR

pix
‘

As a Representative of the

AY/
3 Estate of Benny Cryer, Deceased,
And the Estate of Martha Cryer,
4 Deceased; and SHARON RUCKEL
Plaintiffs
5
and
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REPUBLIC LLOYDS )
7 -Intervenor +)
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8 v. B-44TH JUDICIAL DISTRICT
9 | ATMOS ENERGY CORPORATION
: . Defendant -
10
“Vv.
11

SABER DEVELOPMENT CORPORAT ION

12 Third-Party Defendant DALLAS COUNTY, TEXAS
3 :
14
15 REPORTER'S CERTIFICATION

' ORAL AND VIDEOTAPED DEPOSITION OF KIRBY SHADDIX
16 | AUGUST 7, 2007
17

I, SHANA R. WISE, Certified Shorthand Reporter in and for

18 the State of Texas, hereby certify to the following:

19 That the witness, KIRBY SHADDIX, was duly sworn by the

20 officer and that the transcript of the oral deposition is a

21 true record of the testimony given by the witness;

22 That the deposition. transcript was submitted on

23 ob eh | 2007 to the witness or to the

240 attorne¥Y for witness for examination, signature, and return to
25 Esquire Deposition Services by Qopton oon Oth , 2007;

Esquire Deposition Services | . 3101 Bee Cave Road, Suite 220 : . Austin, Texas 78746
- Phone (512) 634-1980 : -- (800) 969-3027. , oo Fax (512) 328-8139

Electronically signed. by Shana Wise (401-340-211-9479) , : : 0e29222c-7e39-4845-8e3f-deede608dfi
Case 3:07-cv-01675-P eument 1-26 Filed 10/02/07 r@ of 48 Pagebyys 93
Kirby Shaddix August 7, 2007

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ES
:

1 That the amount of time used by. each party at the

2 deposition is as follows:
MR. J. BRUCE SCRAFFORD - 1 hour and-2 minutes
3 MS. KARIN B. TORGERSON ~ 52 minutes t
MR. DARRELL W. CALVIN, JR. - NONE
4 MS. PAIGE A. AMSTUTZ - NONE.
5 That $s is the deposition officer's charges
6 for preparing the original deposition transcript and any copies»
7 of exhibits, charged to Plaintiffs.
8 That pursuant to information given to the :
9 «Deposition officer at the time said testimony
10 was taken, the following includes all parties of record:

MR. J. BRUCE SCRAFFORD, Attorney for Plaintiffs;
il MS: KARIN B. TORGERSON, Attorney for Defendant Atmos

Energy Corporation;

12 MR. DARRELL W. CALVIN, aR. , Attorney for Third-Party

Defendant Saber Development Corporation.

13
I. further certify that I am neither counsel for,. related

14 to, nor employed by any of the parties in the action in which :
15 this proceeding was taken, and further that I am not .
16 | financially or otherwise interested in the outcome of the
17 action. . :
18
19 Further certification requirements pursuant to Rule 203 of |
20 TRCP will be certified to after they have occurred.
21
22. :
23

24

25

Esquire Deposition Services , 3101 Bee Cave Road, Suite 220 | Austin; Texas 78746 —
Phone (512) 634-1980 a , (800) 969-3027. : Fax (512) 328-8139

Electronically signed by Shana Wise (401-340-211-9479) ce , 0e29222c-7e39-4845-8e3f-deedes08dhi

Case 2:07-cv-01675-P@Poument 1-26 Filed 10/02/07 P 12 of 48 Pag@ages 94

Kirby Shaddix . August 7, 2007
1 Certified to by me this 15th day of August, 2007.
2
3
4 ALi ny Lyisee
» SHANA R. WISE, CSR NO. 6642
5 / Expiration Date: 12/31/08
quire Deposition Resources

6 Registration No. 283
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Esquire Deposition Services . 3101 Bee Cave Road, Suite 220 Austin, Texas 78746
Phone (512) 634-1980.__ (800) 969-3027 Fax (512) 328-8139.

=lectronically signed by Shana Wise (401-340-21 1-9479) | : co 0e29222c-7e39-4845-8e3f-deese608d
Case 3:07-cv-01675- PQeurren 1-26 Filed 10/02/07 P 13 of 48 PageRag@o 95
Kirby Shaddix August 7, 2007

1 FURTHER CERTIFICATION UNDER RULE 203 TRCP

2
3 The original deposition @was/was not returned to the
4 deposition officer on 438-07] i
5 If returned, the attached Changes and Signature page

6 contains any changes. and the reasons therefor;

7 ‘If returned, the original deposition was: delivered to

8 J. BRUCE SCRAFFORD, Custodial Attorney;

9 _ That $ Lp BO is the deposition officer’ Ss charges to the
10 Plaintiffs for preparing the original deposition transcript and.
Ll | any copies of exhibits;

12 That the deposition was delivered in accordance with Rule
13 203.3, and that a copy of this certificate was served on all
14 parties shown herein and filed with the Clerk.

15 Certified to by me this \\Wo iy day of

16 . . : , 2007. - .

u JN : :

18

19

20 - Srara PR. Wino bh
SHANA R. WISE, CSR NO. 6642 Hf anon

21 Expiration Date 12-31-08 LOIN

Firm Registration No. 283

SS

22 . 7800 IH 10 West
Suite 100
23 San Antonio, Texas 78230

(210) 377-3027

24

25 EBS NO. 201126

Esquire Deposition Services: _3101-Bee Cave Road, Suite 220 oe Austin, Texas 78746. .
Phone (512) 634-1980 . oe ~ “(800) 969-3027 Fax (512) 328-8139

Hlectronically signed by Shana Wise (401-340-21 1-9479) . 0e29222c-7e39-4845-8e3f-dee9e608df
Case 3:07-cV-01675-P @@ciment 1-26 Filed 10/02/07 ro of 48 PageRAGE, 99

Kirby Shaddix ON August 7, 2007
) 1 CHANGES AND SIGNATURE
2 RE: DANNY CRYER, et al. V. ‘ATMOS ENERGY CORPORATION |
°
2 | PAGE/LINE CHANGE | REASON
5 11/5 "in" to "end" typographical error
6 25/21. "689" to "589" | clarification
7 44/25 "eransaction" to "transition" typographical error i
a |. 55/4 typed" ta wedge" typographical “error
9 : a
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13
wi 14
15
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18
190 I, KIRBY SHADDIX, have read the foregoing deposition and
20 hereby affix my signature that same is true and correct, except i
21 as noted above.
24 KIRBY oko
25 . . . i
: \ iB
ww
Esquire Depéiiticn Secvises’ — wore Bee Ca¥ Cave Road, viel Guia 0 oe Austin, Texas 78746
Phone (512) 634-1980. oe (800) 969- 3027 Fax (512) 328-8139

Electronically signed by Shana Wise (401-340-211-9479) oe E - “.  0e29222c-7e39-4845-Be3f-deese608d!
Case 3:07-cv-01675-P @eument 1- 26 Filed 10/02/07 P@™Myi5 of 48 PageBagRe 91

Kirby Shaddix - August 7, 2007

J 1 THE STATE OF TEXAS ) '
2 )
3 couNnTY OF )
.
6 ' Before me, Duala Fkenouiye , on this day personally
7. appeared KIRBY SHADDIX, ~ known es me (or Proved to me. under oath
8 or through Rivers Mens (description, of identity card or
9 other document) to be the person whose name is subscribed to
10 the foregoing instrument and acknowledged to me that they
1 executed the same for the purposes and consideration therein
12 expressed.

ww 13
14. Given under my hand and seal of office this
15 Age day of —Guquit ' 007
16. ;
17 . :
18 Oo -
19 a .
20 a - _ puta Ve roaye,
21 NOTARY PUBLIC IN AND FOR
22 : cuz state or WEKLAGHS.
23 peer
oa ORRICIAL SEAL”
PAULA IKENOUYE

250 fe Meee Lite River

wd . My Commission} Exp. 06 06/17/2008,

Esquire Deposition Services _ 3101 Bee Cave Road, Suite220. > Austin, Texas 78746
-Phone (512) 634-1980 (800) 969-3027 : : : _.. > Fax (512) 328-8139 -

Electronically signed by Shana Wise (401-340-211-9479) : . mo a 0e29222¢-7e39-4845-8e3f-dee9e608d
Case 3:07-cv-01675- P@Mcument 1-26 Filed 10/02/07 r@« of 48 PagelD 193
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ESQUIRE

DEPOSITION SERVICES®

A HOBART WEST COMPANY

Date: F - [/-2 T

County of: La Wry _
Cause Number: LOL -) 2ST

Clerk of Said Court:

Enclosed please find the certificate(s) of deposition to be filed with the said court in
connection to the above-referenced. cause.

Please retain one copy for your records and return the other copy filed stamped in the
return envelope provided.

Respectfully submitted,

Barbara Wood
Document Manager

_ Enclosure(s)

8415 Datapoint Drive, Suite 120 San Antonio, TX 78229 210.615.0300 . 210.615:9700 Fax
Case 8:07-cv-01675-P @cument 1-26 Filed 10/02/07 "@’ of 48 PagelD 194

Case 3:07-cv-01675-P@Mcument 1-26 Filed 10/02/07 r@ of 48 PagelD 195

CAUSE NO. 06-12248 Fp En

DANNY CRYER, Individually and as a

Representative of the Estate of Benny Cryer,

Deceased, and the Estate of Martha Cryer,

Deceased; and SHARON RUCKEL
Plaintiffs

IN THEBISERICT gauRt ,

and

Intervenor

Vv.

ATMOS ENERGY CORPORATION
Defendant
Vv.

SABER DEVELOPMENT CORPORATION
Third-Party Defendant § DALLAS COUNTY, TEXAS

§
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:
REPUBLIC LLOYDS § B-44" JUDICIAL DISTRICT
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REQUEST FOR HEARING ON DEFENDANT ATMOS ENERGY CORPORATION’S
DISCOVERY OBJECTIONS TO SHARON RUCKEL’S FIRST SET OF
INTERROGATORIES

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Plaintiff, SHARON RUCKEL, and files this Request for Hearing on
Defendant Atmos Energy Corporation’s Discovery Objections to Sharon Ruckel’s First Set of
Interrogatories and in support of the same would show as follows:

1. Plaintiff Sharon Ruckel respectfully requests that the Court rule on the following
discovery objections:

a) All objections by Defendant Atmos Energy Corporation to Plaintiff

Sharon Ruckel’s First Set of Interrogatories attached as Exhibit 1.

WHEREFORE, PREMISES CONSIDERED, Plaintiff Sharon Ruckel respectfully
requests that the Court set a hearing, and thereafter, overrule Defendant Atmos Energy

Corporation’s Objections to the above-referenced discovery, that Defendant Atmos Energy

REQUEST FOR HEARING ON DEFENDANT ATMOS ENERGY CORPORATION’S DISCOVERY

OBJECTIONS TO SHARON RUCKEL’S FIRST SET OF INTERROGATORIES - Page 1
307195-1 09/11/2007
Case 3:07-cv-01675-P Que 1-26 Filed 10/02/07 ‘Ov of 48 PagelD 196

Corporation be ordered to fully and completely respond to such discovery, and that the Court

order such relief as it deems just and proper.

Respectfully submitted,

Mya, .

MARK L. HAWKINS

State Bar No. 00790843

J. BRUCE SCRAFFORD

State Bar No. 17931100
ARMBRUST & BROWN, L.L.P.
100 Congress Avenue, Suite 1300
Austin, Texas 78701

(512) 435-2300 — telephone

(512) 435-2360 — facsimile

ATTORNEYS FOR PLAINTIFFS

REQUEST FOR HEARING ON DEFENDANT ATMOS ENERGY CORPORATION’S DISCOVERY

OBJECTIONS TO SHARON RUCKEL’S FIRST SET OF INTERROGATORIES — Page 2
307195-1 09/11/2007
Case 3:07-cv-01675-P@Mcument 1-26 Filed 10/02/07 ro of 48 PagelD 197

CERTIFICATE OF CONFERENCE

Counsel for movant and counsel for respondent have personally conducted a conference
at which there was a substantive discussion of every item presented to the Court in this motion
and despite best efforts the counsel have not been able to resolve those matters presented.

Certified to the day iq of SCOTUMRER—2007. >
Wi :

J. BRUCE SCRAFFORD
MARK L. HAWKINS

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing instrument was

delivered via facsimile to the following counsel of record on this the 14" day of September,
2007:

Karin B. Torgerson

Locke Liddell & Sapp, L.L.P.
2200 Ross Avenue, Suite 2200
Dallas, TX 75201

Darrell W. Calvin, Jr.
Touchstone Bernays
4700 Renaissance Tower
1201 Elm Street

Dallas, TX 75270

Levi G. McCathern, II
Paul A. Grinke
McCathern | Mooty LLP
Regency Plaza

3710 Rawlins, Suite 1600
Dallas, TX 75219

i SCRAFFORD

REQUEST FOR HEARING ON DEFENDANT ATMOS ENERGY CORPORATION’S DISCOVERY

OBJECTIONS TO SHARON RUCKEL’S FIRST SET OF INTERROGATORIES — Page 3
307195-1 09/11/2007
Case 3:07-cv-01675-P@Meument 1-26 Filed 10/02/07 r@ of 48 PagelD 198

CAUSE NO. 06-12248-B

DANNY CRYER, individually and as a IN THE DISTRICT COURT OF

Representative of the Estate of Benny
Cryer, Deceased, and the Estate of
Martha Cryer, Deceased, and SHARON
RUCKEL,

Plaintiffs,
and
REPUBLIC LLOYDS,

Intervenor, DALLAS COUNTY, TEXAS

vs.

ATMOS ENERGY CORPORATION,
Defendant,

VS.

SABER DEVELOPMENT
CORPORATION, _

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Third Party Defendant. 44™4 DISTRICT COURT

ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO
PLAINTIFF SHARON RUCKEL'S FIRST SET OF INTERROGATORIES -
AND THIRD REQUEST FOR PRODUCTION

TO: - Plaintiff Sharon Ruckel, by and through her attorney, Mark L. Hawkins, Armbrust &
Brown, L.L.P., 100 Congress Avenue, Suite 1300, Austin, Texas 78701.

Atmos Energy Corporation ("Atmos Energy") serves these Objections and Responses to

Plaintiff Sharon Ruckel's First Set of Interro gatories and Third Request for Production.

EXHIBIT 1

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF .
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Pagel
Case 3:07-cv-01675- P@Mcument 1-26 Filed 10/02/07 @ of 48 PagelD 199

. I. -
OBJECTIONS AND RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1: Please Identify and Briefly Describe all warnings, cautions
and safety related instruction, directions, recommendations or advisories which Atmos received
actual or constructive notice of prior to October 16, 2006 concerning potential dangers, hazards
or failure associated with the use of compression couplings to join gas distribution pipe. You
may limit your answer to potential dangers, hazards or failures associated with partial or
complete pullout of gas distribution pipe from the compression coupling, and leaks associated
with aging, deterioration or relaxation of the gasket in the compression coupling. This
interrogatory is intended to include but not be limited to warnings, cautions and safety related
instructions, directions, recommendations and advisories published, created or conveyed by the
NTSB, OPS, AGA, federal regulatory agencies, state regulatory agencies, ASTM, compression
coupling manufacturers, pipe manufacturers, the Plastic Pipe Institute and the employees or
consultants of your company and your acquired companies. °

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
_ neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs’ prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," "warnings," "cautions," "safety related instruction,"
"directions," "constructive notice," "potential dangers," "hazards," "failure(s),"
“potential dangers, hazards, or failures," "partial," "aging," "deterioration,"
"relaxation," “federal regulatory agencies," "state regulatory agencies," "the

_ Plastic Pipe Institute," and "employees or consultants of your company and your
acquired companies." Atmos Energy objects because it is unclear what Plaintiffs
intend to include in the term "Atmos." (Compare. this interrogatory with
interrogatory numbers 3, 4, 5, 6, 8, 9, and 11). Subject to and without waiver of
its objections, based upon a reasonable review of its records and other available
sources of information, Atmos Energy is not presently aware of information
responsive to this interrogatory as it relates to the equipment at issue in this case,
to wit, a %" polyethylene service line directly buried in soil connected to a 1”
prebent riser with a %” compression coupling. To the extent responsive

information becomes. available, Atmos Energy will supplement its answer to this .
interrogatory.

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF

SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Page 2
Case 3:07-cv-01675-P Qeren 1-26 Filed 10/02/07 oe of 48 PagelD 200

a

INTERROGATORY NO. 2: Please Identify and Briefly Describe all incidents involving
death, injury, property damage or a "reportable" gas leak (reported to or investigated by a state or
federal agency), of which Atmos had actual or constructive notice prior to October 16, 2006 and
which involved a leak or separation at a compression coupling joint. You may (but are not
required to) exclude from your answer 1) incidents involving leaks or separations of transmission
as opposed to distribution lines, 2) incidents attributed to corrosion of a metal part, 3) incidents
involving a restraint style compression coupling that qualified as an ASTM category 1 style
coupling or otherwise had been certified to pass the test set forth in current version of 49 CFR
§ 192.283(B), and 4) incidents reported as having been caused by lightning, direct equipment
contact with the coupling or direct equipment contact with the pipe or component to which the
coupling was attached. This interrogatory is intended to include incidents which occurred in
Atmos' own distribution system (including portions of the system formerly owned by others of
which Atmos has records or knowledge such as Lone Star and TXU) as well as incidents in other

distribution systems that Atmos has gained notice of from sources such as the AGA, ASTM,
OPS or other agencies or organizations.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs’ prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," "incidents," "death, injury, property. damage or a
- ‘reportable’ gas leak," "or investigated by," "constructive notice," "compression
coupling joint," "corrosion of a metal part," "restraint style," "qualified as an
ASTM category 1 style coupling or otherwise had been certified to pass the test
set forth in current version of 49 CFR § 192.283(B)," and "Atmos' own
distribution system," and "or other agencies or organizations." Atmos Energy
objects because it is unclear what Plaintiffs intend to include in the term "Atmos."
(Compare this interrogatory with interrogatory numbers 3, 4, 5, 6, 8, 9, and 11).
Subject to and without waiver of its objections, based upon a reasonable review of
its records and other. available sources of information, Atmos Energy is not
presently aware of information responsive to this interrogatory as it relates to the
equipment at issue in this case, to wit, a 4" polyethylene service line directly
buried in soil connected to a 1” prebent riser with a 4” compression coupling. To
the extent responsive information becomes available, Atmos Energy will
supplement its answer to this interrogatory.

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Page 3
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INTERROGATORY NO. 3: Please Identify and Briefly Describe each analysis of
accident or failure conducted as required by 49 CFR § 192.617 prior to October 16, 2006, by or
on behalf of Atmos (or any company acquired by Atmos to the extent Atmos has records or other
knowledge of the failure analysis) with respect to a partial or complete pullout of a pipe from a
compression coupling. You may exclude from your answer 1) incidents involving leaks or
separations of transmission as opposed to distribution lines, 2) incidents attributed to corrosion of
a metal part, 3) incidents involving a restraint style compression coupling that qualified as an
ASTM category 1 style coupling or otherwise had been certified to pass the test set forth in
current version of 49 CFR § 192.283(B), and 4) incidents reported as having been caused by
lightning, direct equipment contact with the coupling or direct equipment contact with the pipe
or component to which the coupling was attached. This interrogatory is intended to include
incidents which occurred to portions of the system formerly owned by others such as Lone Star
and TXU of which Atmos has records or knowledge.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is

neither relevarit nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs' prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," "analysis of accident or failure," "required by 49 CFR
§ 192.617," "partial," "a pipe," "compression coupling," "corrosion of a metal
part," "restraint style compression coupling that qualified as an ASTM category 1
_ Style coupling or otherwise had been certified to pass the test set forth in current
_ version of 49 CFR § 192.283(B).". Subject to and without waiver of its
objections, based. upon a reasonable review of its records and other available
sources of information, Atmos Energy is not presently aware of information
responsive to this interrogatory as it relates to the equipment at issue in this case,
to wit, a %" polyethylene service line directly buried in soil connected to a 1”
. prebent riser with a %” compression coupling. . To the extent responsive
‘information becomes available, Atmos Energy will supplement its answer to this
interrogatory. — .

INTERROGATORY NO. 4: Please Identify and Briefly Describe each analysis of
accident or failure conducted as required by 49 CFR § 192.617 prior to October 16, 2006 by or
on behalf of Atmos (or any company acquired by Atmos to the extent Atmos has records or other _
knowledge of the failure analysis) with respect to a ‘leak at a compression coupling joint

attributed to aging, deterioration or relaxation of the compression coupling gasket. You may

exclude from your answer 1) incidents involving leaks or separations of transmission as opposed
to distribution lines, 2) incidents attributed to corrosion of a metal part, 3) incidents involving a
restraint style compression coupling that qualified as an ASTM category 1 style coupling or
otherwise had been certified to pass the test set forth in current version of 49 CFR § 192.283(B),
and 4) incidents reported as having been caused by. lightning, direct equipment contact with the
coupling or diréct equipment contact with the pipe or component to which the coupling was

_ attached,. This interrogatory is intended to include incidents which occurred to portions of the

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Page 4
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Case 3:07-cv-01675-P Qeurrent 1-26 Filed 10/02/07 PO of 48 PagelD 202

system formerly owned by others such as Lone Star and TXU of which Atmos has records or

knowledge.
ANSWER:

Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs’ prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," "analysis of accident or failure," "required by 49 CFR
§ 192.617," "compression coupling joint," "aging," "deterioration," "relaxation,"
"corrosion of a metal part," and "restraint style compression coupling that
qualified as an ASTM category 1 style coupling or otherwise had been certified to
pass the test set forth in current version of 49 CFR § 192.283(B)." Subject to and
without waiver of its objections, based upon a reasonable review of its records
and other available sources of information, Atmos Energy is not presently aware
of information responsive to this interrogatory as it relates to the equipment at
issue in this case, to wit, a %" polyethylene service line directly buried in soil
connected to a 1” prebent riser with a %” compression coupling. To the extent
responsive information becomes available, Atmos Energy will supplement its
answer to this interrogatory.

-INTERROGATORY NO. 5: Please Identify and Briefly Describe all testing, analysis,
' evaluation or study which was done by or reported or conveyed to Atmos Concerning the pullout
resistance of Rockwell or Smith-Blair compression couplings used to join gas distribution lines.
This interrogatory is intended to include testing, analysis, evaluation or study conducted by
Atmos or one of its acquired companies (similar to the previously produced Lone Star pullout
test reports and analysis) as well as testing, analysis or study provided by coupling manufacturers
or other third parties including the AGA. You may (but are not required to) exclude from your
answer testing, analysis or study of restraint style compression couplings -that passed ASTM
- Category 1 criteria or otherwise passed the test provided in 49 CFR 192.283(b).

ANSWER:

Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly

broad as to scope and time frame, unduly burdensome, harassing, and duplicative

of information requested in Plaintiffs’ prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy objects because it is
unclear what Plaintiffs intend to include in the term "Atmos." (Compare this

_interrogatory with interrogatory numbers 3, 4, 5, 6, 8, 9, and 11). Atmos Energy -

further objects to this interrogatory in that it is vague and ambiguous as to the
terms "Please Identify and Briefly Describe," "testing," "analysis," "evaluation,"
"study," “or reported or conveyed to," and "restraint style compression couplings
that passed ASTM Category 1 criteria or otherwise passed the test provided in 49

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Page 5

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CFR 192.293(b)." Subject to and without waiver of these objections, based upon
a reasonable review of its records and other available sources of information,
Atmos Energy refers Plaintiffs to its production in this case at 04751-04775,
06142-06766, and 10167-10609, and the production in this case from Smith-Blair,
Inc., which may contain information responsive to this interrogatory relating to
the equipment at issue in this case. To the extent additional responsive

information becomes available, Atmos Energy will supplement its answer to this .

interrogatory.

INTERROGATORY NO. 6: Please Identify and Briefly Describe all testing, analysis,
study, recommendations, instructions or standards that were conducted or relied upon by Lone
Star prior to April of 1979 to determine and account for the longitudinal pullout or thrust forces
caused by anticipated external or internal loading at a joint at a gas distribution line installation
such as the joint between the service line and the compression coupling on the prebent riser at
the Cryer residence.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs’ prior 175 requests for production. Atmos

Energy further objects to this interrogatory because it amounts to nothing more

than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," "testing, analysis, study, recommendations, instructions, or
standards," "conducted or relied upon," and “joint at a gas distribution line
installation such as the joint between the service line and the compression
coupling on the prebent riser at the Cryer residence." Subject to and without
waiver of these objections, based upon a reasonable review of its records and
other available sources of information, Atmos Energy refers Plaintiffs to its
production in this case at 04751-04775, 06142-06766, and 10167-10609, which
may contain information responsive to this interrogatory relating to the equipment
at issue in this case. To the extent additional responsive information becomes
available, Atmos Energy will supplement its answer to this interrogatory.

INTERROGATORY NO. 7: Please Identify and Briefly Describe all testing, analysis,
study, recommendations, instruction or standards of which Atmos had actual or constructive
knowledge prior to October 16, 2006 Concerning the quantification, determination or estimation
for accounting for the longitudinal pullout or thrust forces caused by contraction or expansion of
the. piping or by anticipated external or internal loading on a joint in a gas distribution line,
installation, including but not limited to a compression coupling joint.

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF _ .
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Page 6

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ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs' prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy objects because it is
unclear what Plaintiffs intend to include in the term "Atmos." (Compare this
interrogatory with interrogatory numbers 3, 4, 5, 6, 8, 9, and 11). Atmos Energy
further objects to this interrogatory in that it is vague and ambiguous as a whole
and unintelligible as written, and more specifically as to the terms "Please Identify
and Briefly Describe," "testing, analysis, study, recommendations, instructions, or
standards," "constructive knowledge," "quantification, determination or
estimation for accounting for the longitudinal pullout or thrust forces," "the
piping," "on a joint in a gas distribution line installation, including but not limited .
to a compression coupling join ”

INTERROGATORY NO. 8: Please Identify and Briefly Describe all analysis,
evaluation, study, consideration or action by Lone Star in response to or as a result of 1) OPS
Pipeline Safety Advisory Bulletin ADB-86-02, 2) NTSB reports and recommendations relating
to potential failure or pullout of compression couplings or 3) recommendations or advisories
from the AGA relating to potential failure or pullout of compression couplings.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative

_ of information requested in Plaintiffs' prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," “analysis, evaluation, study, consideration, or action,"
"failure or pullout" and "NTSB reports and recommendations," and
"recommendations or advisories from the AGA." Subject to and without waiver
of these objections, based upon a reasonable review of its records and other
available sources of information, Atmos Energy refers Plaintiffs to its production
in this case at 04751-04775, 06142-06766, and 10167-10609, which may contain
information responsive to this interrogatory relating to the equipment at issue in
this case. To the extent additional responsive information becomes available,
Atmos Energy will supplement its answer to this interrogatory. _

INTERROGATORY NO. 9: Please Identify and Briefly Describe all analysis,
evaluation, study, consideration or action by TXU in response to or as a result of 1) OPS Pipeline
Safety Advisory Bulletin ADB-86-02, 2) NTSB reports and recommendations relating to
potential failure or pullout of compression couplings or 3) recommendations or advisories from
the AGA relating to potential failure or pullout of compression couplings.

- DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
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ANSWER:

Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs’ prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy further objects to this
interrogatory in that it is vague and ambiguous as to the terms "Please Identify
and Briefly Describe," "analysis, evaluation, study, consideration, or action,"
“failure or pullout" and "NTSB reports and recommendations," and
“recommendations or advisories from the AGA." Subject to and without waiver
of these objections, based upon a reasonable review of its records and other
available sources of information, Atmos Energy refers Plaintiffs to its production
in this case at 04751-04775, 06142-06766, and 10167-10609, which may contain
information. responsive to this interrogatory relating to the equipment at issue in
this case. To the extent additional responsive information becomes available,
Atmos Energy will supplement its answer to this interrogatory.

INTERROGATORY NO. 10: Please Identify and Briefly Describe all analysis,
evaluation, study, consideration or action by Atmos in response to or as a result of 1) OPS
Pipeline Safety Advisory Bulletin ADB-86-02, 2) NTSB reports and recommendations relating
to potential failure or pullout of compression couplings or 3) recommendations or advisories
from the AGA relating to potential failure or pullout of compression couplings.

ANSWER:

Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible

evidence.. Atmos Energy further objects to this interrogatory in that it is overly

broad as to scope and time frame, unduly burdensome, harassing, and duplicative
of information requested in Plaintiffs’ prior 175 requests for production. Atmos
Energy further objects to this interrogatory because it amounts to nothing more
than an impermissible fishing expedition. Atmos Energy objects because it is
unclear what Plaintiffs intend to include in the term "Atmos." (compare this

_interrogatory. with interrogatory numbers 3, 4, and 5). Atmos Energy further

objects to this interrogatory in that it is vague and ambiguous as to the terms
"Please Identify and Briefly Describe," "analysis, evaluation, study, consideration,
or action," "failure or pullout" and "NTSB reports and recommendations," and
"recommendations or advisories from the AGA." Subject to and without waiver

of these objections, based upon a reasonable review of its records and other —

available sources of information, Atmos Energy refers Plaintiffs to its production
in this case at 04751-04775, 06142-06766, and 10167-10609, which may contain
information responsive to this interrogatory relating to the equipment at issue in
this case. To the extent additional responsive information becomes available,
Atmos Energy will supplement its answer to this interrogatory.

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
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INTERROGATORY NO. 11: Please Identify and Briefly Describe each study, evaluation,
consideration, recommendation, analysis, cost estimate, program, or budget request Concerning
1) the replacement or removal for service of previously installed compression couplings in all or
part of a gas distribution system, 2) for reasons of safety, preventative maintenance or regulatory
compliance and 3) relating to pullout resistance of the coupling or aging, deterioration or
relaxation of compression coupling gaskets. You may exclude from your answer replacement
programs that were explicitly and solely considered or implemented for reasons of cathodic
protection. This interrogatory is intended to address the studies, evaluations, consideration,
recommendations, analysis, cost estimates, programs or budget requests created by or on behalf
of Atmos or by one or on behalf of a prior company that Atmos acquired prior to October 16,

2006 including but not limited to Lone Star and TXU (to the extent Atmos has obtained records
or knowledge of the prior company's responsive activities),

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is overly
broad as to scope and time frame, unduly burdensome, and harassing. Atmos
Energy further objects to this interrogatory in that it is vague and ambiguous as to
the terms "Please Identify and Briefly Describe," "study, evaluation,
consideration, recommendation, analysis, cost estimate, program, or budget
request," "removal for service," "preventative maintenance," "aging,"
“deterioration,” "relaxation," "explicitly and solely considered or implemented,"

“evaluations, consideration, recommendations, analysis, cost estimates, programs
or budget requests," and "responsive activities." Subject to and without waiver of
its objections, based upon a reasonable review of its records and other available
sources of information, Atmos Energy is not presently aware of information
responsive to this interrogatory. To the extent responsive information becomes

_ available, Atmos Energy will supplement its answer to this interrogatory.

INTERROGATORY NO. 12: Please state the date, recipient and the amount or
approximate value of all gifts, entertainment or contributions made or given by or on behalf of

Atmos to any Texas Railroad Commissioner or campaign of a Texas Railroad Commissioner in
the last 5 years.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
. neither relevant nor reasonably calculated to lead to the discovery of admissible —
evidence. Atmos Energy further objects to this interrogatory in that it is harassing
and amounts to nothing more than an impermissible fishing expedition. Atmos
Energy objects to this interrogatory because it is vague and ambiguous as to the
terms "the date" "gifts, entertainment, or contributions made or given by." Atmos
Energy objects because it is unclear what Plaintiffs intend to include in the term
"Atmos." (Compare this interrogatory with interrogatory numbers 3, 4, 5, 6, 8, 9,
and 11).

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION Page 9

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INTERROGATORY NO. 13: _. Please state the date, recipient and the amount or
approximate value of all gifts, entertainment or contributions made or given by a Political Action
Committee funded by Atmos to any Texas Railroad Commissioner or campaign of a Texas
Railroad Commissioner in the last 5 years.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is harassing
and amounts to nothing more than an impermissible fishing expedition. Atmos
Energy objects to this Request to the extent that it improperly seeks information
from or relating to a non-party. Atmos Energy objects to this interrogatory
because it is vague and ambiguous as to the terms "the date" "gifts, entertainment,
or contributions made or given by a*Political Action Committee funded by
Atmos." Atmos Energy objects because it is unclear what Plaintiffs intend to
include in the term "Atmos." (Compare this interrogatory with interrogatory
numbers 3, 4, 5, 6, 8, 9, and 11).

INTERROGATORY NO.14: Please state the date, recipient and amount or approximate
value of all gifts, entertainment or contributions made or given by an Atmos lobbyist to any

Texas Railroad Commissioner or campaign of a Texas Railroad Commissioner in the last 5
years.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence. Atmos Energy further objects to this interrogatory in that it is harassing
and amounts to nothing more than an impermissible fishing expedition. Atmos
Energy objects to this interrogatory because it is vague and ambiguous as to the
terms "the date" "gifts, entertainment, or contributions made or given by an
Atmos lobbyist." Atmos Energy objects because it is unclear what Plaintiffs
intend to include in the term "Atmos." (Compare this interrogatory with
interrogatory numbers 3, 4, 5, 6, 8, 9, and 11).

INTERROGATORY NO. 15: Please state the date and amount or approximate value of
all gifts, entertainment or contributions made or given by or on behalf of Locke Liddell & Sapp

LLP to any Texas Railroad Commissioner or campaign of a Texas Railroad Commissioner in the
last 5 years.

ANSWER: Atmos Energy objects to this interrogatory in that it seeks information which is
neither relevant nor reasonably calculated to lead to the discovery of admissible —
evidence. Atmos Energy further objects to this interrogatory in that it is harassing
and amounts to nothing more than an impermissible fishing expedition. Atmos
Energy objects to this Request to the extent that it improperly seeks information
from or relating to a non-party.. Atmos Energy objects to this interrogatory
because it is vague and ambiguous as to the terms "the date" "gifts, entertainment,
or contributions made or given by of on behalf of." |

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
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CERTIFICATE OF SERVICE

I certify that on this Ut say of September, 2007, a true and correct copy of the
foregoing pleading has been served upon the following counsel by certified mail, return receipt
requested, pursuant to the Texas Rules of Civil Procedure:

Mark L. Hawkins

Armbrust & Brown, L.L.P.

100 Congress Avenue, Suite 1300
Austin, Texas 78701

Counsel for the Plaintiffs

Darrell W. Calvin, Jr.

Touchstone Bernays

4700 Renaissance Tower

1201 Elm Street

Dallas, Texas 75270

Counsel for Third-Party Defendant
Saber Development Corporation

Levi G. McCathern, I
Paul A. Grinke
McCathern Mooty, L.L.P.
Regency Plaza

3710 Rawlins, Suite 1600
Dallas, Texas 75219
Counsel for Intervenor
Republic Lloyd's

DEFENDANT ATMOS ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF
SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION / Page 13
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VERIFICATION
STATE OF TEXAS §
“8
COUNTY OF DALLAS §

BEFORE ME, the undersigned authority, on this day eppeared Scott Powell, as
authorized agent of Atmos Energy Corporation, and after. I administered an oath to him, upon his
oath, he stated that he read the foregoing Objections and Responses to Plaintiff Sharon Ruckel's
First Set of Interrogatories, the facts in it are true and correct -baged on the knowledge held by
Atmos Energy Corporation and that he is duly authorized to make these answers on behalf of

-Atmos Energy Corporation.

Scott t Powell

SWORN TO AND SUBSCRIBED TO on the “te day of September, 2007, to certify

which witness my hand and seal of office.

CHARLENE DAVIS
Notary Public Sie Siete of Ie of Toa

war Mh oF

A A

Notary Public, State of Texas

"DEFENDANT ATMO8 ENERGY CORPORATION'S OBJECTIONS AND RESPONSES TO PLAINTIFF

SHARON RUCKEL'S FIRST SET OF INTERROGATORIES AND THIRD REQUEST FOR PRODUCTION - Fago 14
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ARMBRUST & BROWN, LLP. FIL rm

ATTORNEYS AND COUNSELORS fff}
SEP IT AN In: 3°
100 CONGRESS AVENUE, SUITE 1300 CARY Cinveices
AUSTIN, TEXAS 78701-2744 IY Fy 72 SIMMONS
512-435-2300 a : Oe
wd voy
FACSIMILE 512-435-2360 re orp
ULF uty
MARK L. HAWKINS
(512) 435-2309
mhawkins@abaustin.com
September 14, 2007

VIA FEDERAL EXPRESS

Gary Fitzsimmons

Dallas County District Clerk
Dallas County Courthouse
600 Commerce Street

Ist Floor-Suite 103.

Dallas, Texas 75202

Re: Cause No. 06-12248; Danny Cryer, Individually and as a Representative of the
Estate of Benny Cryer, Deceased and the Estate of Martha Cryer, Deceased; and
Sharon Ruckel v. Atmos Energy Corporation v. Saber Development Corporation;
In the B-44" Judicial District Court, Dallas County, Texas

Dear Mr. Fitzsimmons:

Enclosed for filing in the above-referenced matter, please find the original along with one
(1) copy of Request for Hearing on Defendant Atmos Energy Corporation’s Discovery
Objections to Sharon Ruckel’s First Set of Interrogatories.

Please affix your file-mark stamp to the copy and return it to me via the enclosed self-
addressed stamped envelope.

Thank you for your assistance, and should you have any questions, please feel free to
give me a call.

Very truly yours,

Mark L. Hawkins

MLH/kIf
Enclosures.

307577-1 09/14/2007
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ARMBRUST & BROWN, L.L.P.
Page 2

ce: Karin B. Torgerson
Darrell W. Calvin, Jr.
Levi G. McCathern, II/Paul A. Grinke

307577-1 09/14/2007

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CAUSE NO. 06-12248-B
DANNY CRYER, individually and as a IN THE DISTRICT COURT OF
Representative of the Estate of Benny
Cryer, Deceased, and the Estate of
Martha Cryer, Deceased, and SHARON
RUCKLE,

Plaintiffs,

AND

REPUBLIC LLOYDS, .
Intervenor, DALLAS COUNTY, TEXA st

vs.
ATMOS ENERGY CORPORATION,
Defendant,

VS.

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;
SABER DEVELOPMENT §
CORPORATION, §
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§

Third Party Defendant. 44™ DISTRICT COURT

NOTICE OF FILING RULE 11 AGREEMENT

TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW Atmos Energy Corporation ("Atmos Energy") and files the Rule 11

Agreement attached hereto as Exhibit A, entered into between counsel for Plaintiffs and Atmos

Energy.

NOTICE OF FILING RULE 11 AGREEMENT — PAGE 1
DALLAS: 505721.00025: 1627225v1

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Respectfully submitted,

Tigmds&-Conmnop
ate Bar No. 04702500
rin B. Torgerson

State Bar No. 00794745
Jonathan E. Collins

State Bar No. 24049522

LOCKE LIDDELL & SAPP PLLC
2200 Ross Avenue, Suite 2200
Dallas, Texas 75201

Telephone: (214) 740-8000
Telecopier: (214) 740-8800

ATTORNEYS FOR DEFENDANT/THIRD-
PARTY PLAINTIFF ATMOS ENERGY
CORPORATION.

NOTICE OF FILING RULE 11 AGREEMENT — PAGE 2
DALLAS: 505721.00025: 1627225v1
Case 3:07-cv-01675-P@cument 1-26 Filed 10/02/07 PBs: of 48 PagelD 215

CERTIFICATE OF SERVICE

I certify that on this 20th day of September, 2007, a true and correct copy of the
foregoing pleading has been served upon the following counsel by facsimile pursuant to the
Texas Rules of Civil Procedure:

Mark L. Hawkins

Armbrust & Brown, L.L.P.

100 Congress Avenue, Suite 1300
Austin, Texas 78701

Counsel for Plaintiffs

Darrell W. Calvin, Jr.

Touchstone Bernays

4700 Renaissance Tower

1201 Elm Street

Dallas, Texas 75270

Counsel for Saber Development Corporation/Third-Party
Defendant

Levi G. McCathern, II

Paul A. Grinke

McCathern Mooty, L.L.P.

Regency Plaza

3710 Rawlins, Suite 1600

Dallas, Texas 75219

Counsel for Republic Lloyd's/Intervenor

athan E. Collins

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ATTORNEYS & COUNSELORS
2200 Rass AVENUE - (214) 740-8000
' Surre 2200 Fax: (214) 740-8800
DALLAS, TEXAS 75201-6776 AUSTIN # DALLAS ¢ HOUSTON ¢ New ORLEANS ¢ WASHINGTON, D.C. wwwlockeliddell.com
. DIRECT NUMBER: (214) 740-8725
email: ktorgerson@lockeliddell.com
September 17, 2007
Mark L. Hawkins
J. Bruce Scrafford
Armbrust & Brown, L.L.P.

100 Congress Avenue, Suite 1300
Austin, Texas 78701-2744

Re: Danny Cryer, et al. y. Atmos Energy Corporation, et al., Cause No. 06-12248, in
the 44" Judicial District Court, Dallas County, Texas

Dear Mark and Bruce: —
This letter will confirm our agreement to extend the deadline to produce leak reports for
the attached Exhibit A and B as follows:

1) Exhibit A Leaks ~ Atmos Energy shall have thirty (30) days to produce such leak
reports after Plaintiffs provide Atmos Energy with street addresses for such leaks.

2) Exhibit B-Leaks — Atmos Energy shall have an additional thirty (30) days to
comply with the Court’s August 21, 2007 Order relating to Exhibit B leaks.

EXHIBIT

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Counsel for Plaintiffs

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cc: Darrell W. Calvin, Jr. (via fax)
Paul A. Grinke (via fax)

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CAUSE NO. 06-12248

DANNY CRYER, Individually and as a § IN THE DISTRICT COURT
Representative of the Estate of Benny Cryer, §
Deceased, and the Estate of Martha Cryer, §
Deceased; and SHARON RUCKEL §
Plaintiffs §
§
and §
§
REPUBLIC LLOYDS § B-44" JUDICIAL DISTRICT
Intervenor §
§
V. §
§
ATMOS ENERGY CORPORATION §
Defendant §
Vv. §
§
SABER DEVELOPMENT CORPORATION  §
Third-Party Defendant § DALLAS COUNTY, TEXAS
NOTICE OF HEARING

Please take notice that a hearing before the Court of the above matter has been set for
Wednesday, October 10, 2007, at 10:00 a.m., regarding Request for Hearing on Defendant
Atmos Energy Corporation's Discovery Objections to Sharon Ruckel’s First Set of
Interrogatories and Defendant/Third-Party Plaintiff Atmos Energy Corporation’s Motion to
Quash Second Amended Notice of Intention to Take the Oral and Videotaped Deposition of a

Representative or Representatives of Atmos Energy Corporation.

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Respectfully submitted,

Winn -

MARK L. HAWKINS

State Bar No. 00790845

J. BRUCE SCRAFFORD

State Bar No. 17931100
ARMBRUST & BROWN, L.L.P.
100 Congress Avenue, Suite 1300
Austin, Texas 78701

(512) 435-2300 — telephone

(512) 435-2360 — facsimile
ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing instrument was
delivered via facsimile to the following counsel of record on this the 18" day of September,
2007:

Kann B. Torgerson

Locke Liddell & Sapp, L.L.P.
2200 Ross Avenue, Suite 2200
Dallas, TX 75201

Darrell W. Calvin, Jr.

Touchstone, Bemmays, Johnston, Beall,
Smith & Stollenwerck, L.L.P.

4700 Renaissance Tower

1201 Elm Street

Dallas, TX 75270

Paul A, Grinke
McCathern | Mooty LLP
3710 Rawlins, Suite 1600

Dallas, TX 75219 f ‘

MARK. L. HAWKINS

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CAUSE NO. 06-12248-B Lp, ML go
DANNY CRYER, individually and as a § IN THE DISTRICT, CO jOF
Representative of the Estate of Benny § fe P26 lin, Sy
Cryer, Deceased, and the Estate of § os Tg
Martha Cryer, Deceased, and SHARON § hae
RUCKLE _*
? : oS yy mW
Plaintiffs, §
§
AND §
§
REPUBLIC LLOYDS, §
§
Intervenor, § DALLAS COUNTY, TEXAS
§
vs. §
§
ATMOS ENERGY CORPORATION, §
§
Defendant, §
§
vs. §
§
SABER DEVELOPMENT §
CORPORATION, §
§
Third Party Defendant. §  44™ DISTRICT COURT

NOTICE OF FILING RULE 11 AGREEMENT

TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW Atmos Energy Corporation ("Atmos Energy") and files the Rule 11
Agreement attached hereto as Exhibit A, entered into between counsel for Plaintiffs and Atmos

Energy.

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Case 3:07-0v.01675-Agpbcument 1-26 Filed 10/02/07 Q-s of 48 PagelD 223

Respectfully submitted,

omas A. Connop
tate Bar No. 04702500

Karin B. Torgerson
State Bar No. 00794745

Jonathan E. Collins
State Bar No. 24049522

LOCKE LIDDELL & SAPP PLLC
2200 Ross Avenue, Suite 2200
Dallas, Texas 75201

Telephone: (214) 740-8000
Telecopier: (214) 740-8800

ATTORNEYS FOR DEFENDANT/THIRD-
PARTY PLAINTIFF ATMOS ENERGY
CORPORATION.

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CERTIFICATE OF SERVICE

I certify that on this 21st day of September, 2007, a true and correct copy of the foregoing
pleading has been served upon the following counsel by facsimile pursuant to the Texas Rules of
Civil Procedure:

Mark L. Hawkins

Armbrust & Brown, L.L.P.

100 Congress Avenue, Suite 1300
Austin, Texas 78701

Counsel for Plaintiffs

Darrell W. Calvin, Jr.

Touchstone Bernays

4700 Renaissance Tower

1201 Elm Street

Dallas, Texas 75270

Counsel for Saber Development Corporation/Third-Party

Defendant

Levi G. McCathern, II

Paul A. Grinke

McCathern Mooty, L.L.P.

Regency Plaza

3710 Rawlins, Suite 1600

Dallas, Texas 75219

Counsel for Republic Lloyd's/Intervenor

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NOTICE OF FILING RULE 11 AGREEMENT — PAGE 3
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LOCKE LIDDELL & SAPP ritc
* Phooe: (214) 740-8000
2900 Ross AVENUP. oe
eae TX 75201-6716 AUSTIN ® DaLLas @ Hovsron & New ORLEANS # Wasuuneran, D.C worwlockcliddellcom
DIRECT NUMBER: (214) 740-8547
email: tconnop@lockeliddcll.com
September 20, 2007
VIA TELECOFY
Mark L. Hawkins, Esq.
Armbrust & Brown, L.L.P.
100 Congress Avenue, Suite 1300
Austin, Texas 78701-2744
Re: Danny Cryer, et al. v. Atmos Energy Corporation, et al, Cause No. 06-12248-B,
in the 44" Judicial District Court af Dallas County, Texas
Dear Mark:

iti i i ber 21, 2007 to
2007, that Atmos Energy shall have an additional 30 days to and including Octo 2 20
comply with the Court’s August 21, 2007 Order regarding the production of additions!
documents. I would sppreciate it if you would execute and retum to me a copy of this etter
accordance with Texas Rule of Civil Procedure 11.

Thank you very much for your courtesy.

—(

TWA
A. Connop
TAC:
AGREED:
Mark ( Hawkins
Attomeys for Plaintiffs
cc: J, Bruce Scrafford VIA TELECOPY

Darrell W. Calvin, 5. VIA TELECOPY
Karin Torgerson, Esq. [Firm]

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